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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                              CRIMINAL NO. 05-10306-RGS


                             UNITED STATES OF AMERICA

                                              v.

                                   TERRANCE MOORE


                   MEMORANDUM AND ORDER ON DEFENDANT’S
                       MOTION FOR A FRANKS HEARING


                                      January 5, 2007

STEARNS, D.J.

       This motion seeking a hearing under the auspices of Franks v. Delaware, 438 U.S.

154 (1978), was initially filed by defendant Terrance Moore. It was subsequently joined

by Moore’s fourteen co-defendants.

       A judicial ruling on probable cause to support a warrant is ordinarily confined to the

“four corners” of the affidavit. See United States v. Southard, 700 F.2d 1, 7 (1st Cir. 1983).

Franks, however, identifies circumstances in which a defendant may be entitled to a

hearing in order to challenge the truthfulness of an affiant’s statements. There is no

automatic right to a Franks hearing. Rather, a defendant must first make a “substantial

preliminary showing” that an affidavit contains intentionally false or recklessly untrue

statements that are material to a finding of probable cause. Id. at 155-156.

       To mandate an evidentiary hearing, the challenger’s attack must be more
       than conclusory and must be supported by more than a mere desire to cross-
       examine. There must be allegations of deliberate falsehood or of reckless
       disregard for the truth, and those allegations must be accompanied by an
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      offer of proof. They should point out specifically the portion of the warrant
      affidavit that is claimed to be false and they should be accompanied by a
      statement of supporting reasons. Affidavits or sworn or otherwise reliable
      statements of witnesses should be furnished, or their absence satisfactorily
      explained.

      Moore by way of affidavit asserts that the confidential informant designated as CS-1

(who was Moore himself) in the affidavits sworn by Detective Flannery is the same person

designated as CS-1 by Agent Simmons. Moore then states that information that was

supposedly supplied to Simmons by CS-1 either contradicts information that he gave to

Flannery or could not have originated with him because: (1) he was not an informant for

Simmons; (2) he does not possess certain biographical details attributed by Simmons to

CS-1; and (3) he does not know one of the targets (Gonsalves) about whom CS-1 is said

by Simmons to have furnished information.1

      The premise upon which Moore’s motion is based – that the CS-1 cited by Flannery

and the CS-1 cited by Simmons are one and the same person (Moore) – is erroneous as

is evident from the face of the affidavits. As the government points out, Flannery states

in his November 1, 2005 affidavit that Simmons’ five confidential sources (CS-1 through

CS-5) had provided information regarding the criminal activities of the Gonsalves/Ferreira

faction but not the Sylvia/Gomes group, while his nine confidential sources (CS-1 through

CS-9) had provided the information implicating Sylvia/Gomes. The conclusion that the CS-

1 (Moore) who provided information to Flannery is not the CS-1 who supplied information

to Simmons is inescapable.


      1
      Moore also alleges that Flannery, by incorporating the Simmons affidavits into his
November 1, 2005 affidavit, in essence ratified the information allegedly fabricated by
Simmons.

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                                     ORDER

      For the foregoing reasons, the motion for a Franks hearing is DENIED as to all

defendants.

                                      SO ORDERED.

                                      /s/ Richard G. Stearns


                                      _______________________________
                                      UNITED STATES DISTRICT JUDGE




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